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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA,
et al.,

                                  Plaintiffs,
       v.

ELISABETH D. DEVOS, in her official
capacity as Secretary of Education, et al.,

                                  Defendants,

       and                                                Case No. 20-cv-01468-CJN

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al,

                        Intervenor-Defendants,

       and

STATE OF TEXAS,

             [Proposed] Intervenor-Defendant.



    TEXAS’ PARTIALLY OPPOSED MOTION TO INTERVENE AS DEFENDANT


       Putative Intervenor-Defendant, the State of Texas, by and through the Attorney General of

Texas, and pursuant to Federal Rule of Civil Procedure 24, moves to intervene as of right in the

above-captioned action or, in the alternative, permissively. In support of this Motion, Texas relies

on the following contemporaneously-filed documents:

       1.      Memorandum in Support of Texas’ Partially Opposed Motion to Intervene;

       2.      [Proposed] Intervenor-Defendant Texas’ Answer; and

       3.      [Proposed] Order Granting Texas’ Motion to Intervene.


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       For the reasons stated in this Motion and accompanying documents, Texas respectfully

requests that the Court grant its Motion to Intervene.



Date: January 19, 2021                               Respectfully submitted.

KEN PAXTON                                           PATRICK K. SWEETEN
Attorney General of Texas                            Associate Deputy for Special Litigation
                                                     Texas State Bar No. 00798537
BRENT WEBSTER
First Assistant Attorney General                     WILLIAM T. THOMPSON
                                                     Special Counsel
                                                     Texas State Bar No. 24088531

                                                      /s/ Kathleen T. Hunker
                                                     KATHLEEN T. HUNKER
                                                     Special Counsel
                                                     Texas State Bar No. 24118415


                                                     OFFICE OF THE ATTORNEY GENERAL
                                                     P.O. Box 12548 (MC-009)
                                                     Austin, Texas 78711-2548
                                                     Tel.: (512) 936-1414
                                                     Fax: (512) 936-0545
                                                     patrick.sweeten@oag.texas.gov
                                                     kathleen.hunker@oag.texas.gov
                                                     will.thompson@oag.texas.gov




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                                 CERTIFICATE OF CONFERENCE

        Counsel for Putative Intervenor-Defendant Texas sought conference via e-mail and
telephone on January 15, 16, and 18, 2021 with counsel for Plaintiff States, Defendants, and
existing Intervenor Defendants. Counsel for Plaintiff States responded that their clients oppose
Texas’ motion to intervene. Counsel for Defendants replied that Defendants will take a position
after the motion is filed and counsel have an opportunity to review it. Counsel for existing
Intervenor Defendants stated that their clients do not oppose the motion.

                                                            /s/ Kathleen T. Hunker
                                                            Kathleen T. Hunker



                                    CERTIFICATE OF SERVICE

       I, Kathleen T. Hunker, hereby certify that on this the 19th day of January, 2021, a true and
correct copy of the foregoing document was transmitted using the CM/ECF system, which
automatically sends notice and a copy of the filing to all counsel of record.

                                                            /s/ Kathleen T. Hunker
                                                            Kathleen T. Hunker




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